       Case 6:20-cr-10022-JWB Document 30 Filed 04/07/21 Page 1 of 9
                                                                                       FILED
                                                                                 U.S. District,_Court
                                                                                 District of Kansas

                                                                                  APR -7 2021
                        IN THE UNITED ST ATES DISTRICT COU8l ~ t r i c t Court
                             FOR THE DISTRICT OF KANSAS    y __._......,____~_ _ Deputy Clerk

UNITED ST ATES OF AMERICA

                         Plaintiff,

       v.                                               Case No. 20-CR-10022-01-JWB


KYLE ELLERY

                         Defendant.


                  PLEA AGREEMENT PURSUANT TO FEDERAL RULE
                       OF CRIMINAL PROCEDURE l l(c)(l)(C)

        The United States of America. by and through Assistant United States Attorney Jason W .

Hart, the defendant, Kyle Ellery, personally and with his counsel. Steve Mank. hereby enter into

the following plea agreement pursuant to Rule 11 (c )( I )(C) of the Federal Rules of Criminal

Procedure:

        I.     Defendant's Guilty Plea. The defendant agrees to plead guilty to Count 2 of the

Indictment charging a violation of 18 U.S .C. § 2423(b), that is. Travel with Intent to Engage in

Illicit Sexual Conduct. By entering into this plea agreement. the defendant admits to knowingly

committing the offense, and to being guilty of the offense. The defendant understands that the

maximum sentence which may be imposed as to Count 2 of the Indictment to which he has agreed

to plead guilty is not more than thirty (30) years of imprisonment. a fine of up to $250,000. a term

of supervised release of up to life and not less than five (5) years. a $100.00 mandatory special

assessment. and a $5 ,000 Justice for Victims of Trafficking Act assessment. The defendant further

agrees to forfeit property to the United States, as agreed.




                                                                                         Ver. 17-09
       Case 6:20-cr-10022-JWB Document 30 Filed 04/07/21 Page 2 of 9




       2.      Factual Basis for the Guilty Plea. The parties agree the facts constituting the

offense to which the defendant is pleading guilty are as follows:

       Around the spring of 2019, Kyle Ellery began communicating online, via social media,
       with Minor Victim born in 2005. These communications were sexual in nature, culminating
       in Ellery traveling on or about January 11 , 2020, to meet the 14 year old Minor Victim.
       Ellery travelled from Wichita, Kansas, to St. James, Missouri, to meet Minor Victim and
       upon whom he engaged in masturbatory sex acts.

       3.      Proposed Rule ll(c){l)(C) Sentence. The parties propose, as an appropriate

disposition of the case:

       (a)     87 months in prison on Count 2, 18 U.S.C. §2423(b);

       (b)     five ( 5) years of supervised release;

       (c)     no fine;

       (d)     the mandatory special assessment of $100.00; and

       (e)     restitution, if requested by Minor Victim and as determined by the Court (at this

               time, no restitution has been requested, but defendant understands that Minor

               Victim may submit a request before sentencing).

The parties seek this binding plea agreement as an appropriate disposition of the case, because if

the Court permits itself to be bound by the proposed sentence, it brings certainty to the sentencing

process; it assures that the defendant and the government will benefit from the bargain they have

struck; it serves the interests of justice; and it assures a sentence consistent with the sentencing

factors of 18 U.S.C. § 3553(a). If the Court does not agree with the sentence, the defendant and

United States may be restored to the positions they maintained prior to reaching this plea

Agreement. This plea agreement centers on the defendant's agreement to enter his guilty plea as

soon as the Court's schedule permits, thereby preserving valuable Court, prosecution, defense,

United States Probation Office, United States Marshals' Service and other law enforcement

resources.

                                                  2
       Case 6:20-cr-10022-JWB Document 30 Filed 04/07/21 Page 3 of 9




       4.      Application of the Sentencing Guidelines. The parties are of the belief that the

proposed sentence does not offend the advisory sentencing guidelines. Because this proposed

sentence is sought pursuant to Federal Rule of Criminal Procedure l l(c)(l )(C), the parties are not

requesting imposition of an advisory guideline sentence.

       5.      Government's Agreements. In return for the defendant's plea of guilty as set forth

herein, the United States agrees to dismiss the remaining count of the Indictment at the time of

sentencing, and agrees to not file any additional charges against the defendant arising out of the

facts fonning the basis for the present Indictment. Specifically. the United States will dismiss

Count I of the Indictment (Doc. I).

       6.      Consequences for Violating the Plea Agreement. The United States· obligations

under this plea agreement are contingent upon the defendant's continuing to manifest an

acceptance of responsibility. If the defendant denies or gives conflicting statements as to his

involvement, falsely denies or frivolously contests relevant conduct the Court determines to be

true, willfully obstructs or impedes the administration of justice, as defined by U .S.S.G. § 3C I. 1

(or willfully attempts to do so), or has engaged in additional criminal conduct, the United States

reserves the right to petition the Court for a hearing to determine if he has breached this plea

agreement.

       If the Court finds by a preponderance of the evidence that the defendant (I) has breached

or violated this plea agreement; (2) has willfully obstructed or impeded the administration of

justice. as defined by U.S.S.G. § 3C I. I (or willfully attempted to do so); (3) has engaged in

additional criminal conduct; or (4) has otherwise failed to adhere to this plea agreement's terms,

this plea agreement will be deemed null and void. and the United States may pursue any additional

charges arising from the criminal activity under investigation. as well as any charges for any

perjury, false statement, or obstruction of justice that may have occurred.

                                                 3
       Case 6:20-cr-10022-JWB Document 30 Filed 04/07/21 Page 4 of 9




       If the Court finds the defendant has violated this plea agreement, he understands and agrees

that all statements he made. any testimony he gave before a grand jury or any tribunal, or any leads

from such statements or testimony, shall be admissible against him in any and all criminal

proceedings. The defendant waives any rights which might be asserted under the United States

Constitution, any statute, Federal Rule of Criminal Procedure 11 (f), Federal Rule of Evidence 410,

or any other federal rule that pertains to the admissibility of any statements he made subsequent to

this plea agreement.

       7.      Whether to Accept the Proposed Plea Agreement and Sentence is Up to the

Court. The Court has no obligation to accept the proposed plea agreement and sentence. It is

solely within the Court's discretion whether to accept the proposed binding plea agreement as an

appropriate disposition of the case.

       8.      Withdrawal of Plea Permitted Only if the Court Does Not Accept the Plea

Agreement and Proposed Sentence.          If the Court agrees to be bound by the proposed plea

agreement and sentence. the parties shall be bound by all the terms of the proposed plea agreement

and the defendant will not be permitted to withdraw his guilty plea. If the Court announces that it

will NOT be bound by the proposed plea agreement. the parties agree that at that time either party

may withdraw the proposed plea agreement, and if either does so, then all parties will be restored

to the positions they were in prior to the entry of the defendant's plea. If neither party elects to

withdraw the proposed plea agreement at the time the Court announces that it will not be bound,

and before the Court proceeds with sentencing. then the parties shall be bound by all the terms of

the proposed plea agreement and the defendant will not be permitted to withdraw his guilty plea.

       9.      Forfeiture of Property. The defendant agrees to the forfeiture of the following

property to the United States: Samsung SMJ337P smartphone The defendant agrees that this

property was involved or used in the commission of Count 2. The defendant knowingly and

                                                 4
      Case 6:20-cr-10022-JWB Document 30 Filed 04/07/21 Page 5 of 9




voluntarily waives his right to a jury trial regarding the forfeiture of property. and voluntarily

waives all constitutional. legal and equitable defenses to the imposition of a forfeiture judgment.

The defendant acknowledges and agrees that the forfeiture of this property shall not be deemed an

alteration of his sentence or this agreement, and shall not be treated as satisfaction of any fine ,

restitution, cost of imprisonment, or any other penalty the Court may impose upon him in addition

to forfeiture. Additionally, the defendant agrees to the immediate entry of the Preliminary Order

of Forfeiture, and agrees to sign any and all documents necessary to effectuate the forfeiture and

transfer of his interest and possession of the property identified in this paragraph to the United

States prior to the imposition of sentence.

        10.      Payment of Special Assessment. The defendant understands that a mandatory

special assessment of $100.00 per count of conviction wi II be entered against him at the time of

sentencing.   The defendant agrees to deliver to the Clerk of the United States District Court

payment in the appropriate amount no later than the day of sentencing. The defendant has the

burden of establishing an inability to pay the required special assessment.            The parties

acknowledge that if the Court finds the defendant is without resources to pay the special

assessment at the time of sentencing. the Court may allow payment during his period of

incarceration.

       11.       Payment of JVTA Assessment. The defendant understands that the JVTA

assessment of $5,000.00 shall be imposed for Count 2, unless the Court determines the defendant

is indigent. The defendant has the burden of establishing indigency. The parties acknowledge that

if the Court finds the defendant is without resources to pay the JVTA assessment at the time of

sentencing, the Court may allow payment during his period of incarceration.

       12.       Waiver of Appeal and Collateral Attack.          The defendant knowingly and

voluntarily waives any right to appeal or collaterally attack any matter in connection with this

                                                 5
      Case 6:20-cr-10022-JWB Document 30 Filed 04/07/21 Page 6 of 9




prosecution. his conviction. or the components of the sentence to be imposed herein. including the

length and conditions of supervised release. as well as any sentence imposed upon a revocation of

supervised release. The defendant is aware that 18 U.S.C. § 3742 affords him the right to appeal

the conviction and sentence imposed. By entering into this agreement. the defendant knowingly

waives any right to appeal a sentence imposed in accordance with the sentence recommended by

the parties under Rule 11 (c)(l )(C). The defendant also waives any right to challenge his sentence,

or the manner in which it was determined. or otherwise attempt to modify or change his sentence,

in any collateral attack. including. but not limited to. a motion brought under 28 U.S.C. § 2255

(except as Jim ited by United States , .. Cockerham. 23 7 F.3d 1179. 1187 ( I 0th Cir. 200 I )). or a

motion brought under Federal Rule of Civil Procedure 60(b). In other words. the defendant waives

the right to appeal the sentence imposed in this case. except to the extent, if any. the Court imposes

a sentence in excess of the sentence recommended by the parties under Rule I I ( c )( I )(C).

However. if the United States exercises its right to appeal the sentence imposed. as authorized by

18 U.S.C. § 3742(6). the defendant is released from this waiver and may appeal the sentence

received. as authorized by 18 U.S.C. § 3742(a). Notwithstanding the foregoing waivers. the parties

understand that the defendant in no way waives any subsequent claims with regards to ineffective

assistance of counsel or prosecutorial misconduct.

        13.    FOIA and Privacy Act Waiver. The defendant waives all rights. whether asserted

directly or by a representative. to request or receive from any department or agency of the United

States any records pertaining to the investigation or prosecution of this case. including. without

limitation. any records that may be sought under the Freedom of Information Act. 5 U.S.C. § 552.

The defendant further waives any rights conferred under the Privacy Act of 1974. 5 U.S.C. § 552a.

to prevent or object to the disclosure of records or materials pertaining to this case.



                                                  6
      Case 6:20-cr-10022-JWB Document 30 Filed 04/07/21 Page 7 of 9




        14.    Waiver of Claim for Attorney's Fees. The defendant waives all claims under the

Hyde Amendment. 18 U.S.C. § 3006A. for attorney's fees and other litigation expenses arising out

of the investigation or prosecution of this matter.

        15.    Full Disclosure by United States. The defendant understands the United States

will provide to the Court and the United States Probation Office all information it deems relevant

to determining the appropriate sentence in this case. This may include information concerning his

background. character, and conduct. including the entirety of his criminal activities. The defendant

understands these disclosures are not limited to the count to which he is pleading guilty. The

United States may respond to comments he or his attorney makes. or to positions he or his attorney

takes. and to correct any misstatements or inaccuracies. The United States further reserves its right

to make any recommendations it deems appropriate regarding the disposition of this case. subject

only to any limitations set forth in this plea agreement. The defendant also has the right to provide

information concerning the offense and to make recommendations to the Court and the United

States Probation Office.

        16.    Megan's Law/Adam Walsh Act Notice. The defendant has been advised and

understands. that under the Sex Offender Registration and Notification Act. a federal law. the

defendant must register and keep the registration current in each of the followingjurisdictions: the

location of the defendanf s residence. the location of the defendant"s employment: and. if the

defendant is a student, the location of the defendant' s school. Registration will require that the

defendant provide information that includes name. residence address. and the names and addresses

of any places at which the defendant is or will be an employee or a student. The defendant

understands that he must update his registrations not later than three business days after any change

of name. residence. employment. or student status. The defendant understands that failure to



                                                  7
      Case 6:20-cr-10022-JWB Document 30 Filed 04/07/21 Page 8 of 9




comply with these obligations subjects the defendant to prosecution for failure to register under

federal law. 18 U.S.C. § 2250. which is punishable by a fine or imprisonment. or both.

        17.    Parties to the Agreement. The defendant understands this plea agreement binds

only him and the United States Attorney for the District of Kansas. and that it does not bind any

other federal. state. or local prosecution authority.

        18.    No Other Agreements. The defendant has had sufficient time to discuss this case,

the evidence. and this plea agreement with his attorney and he is fully satisfied with the advice and

representation his attorney provided. Further. the defendant acknowledges that he has read the

plea agreement. understands it. and agrees it is true and accurate and not the result of any threats,

duress or coercion. The defendant further understands that this plea agreement supersedes any and

all other agreements or negotiations between the parties, and that this plea agreement embodies

each and every term of the agreement between the parties.

        19.    The defendant acknowledges that he is entering into this plea agreement and is




                    [CONTINUED ON NEXT PAGE FOR SIGNATURES}




                                                   8
      Case 6:20-cr-10022-JWB Document 30 Filed 04/07/21 Page 9 of 9




pleading guilty because he is guilty. He further acknowledges that he is entering his guilty plea

freely. voluntarily. and knowingly.



                                                                     / '/""""'IR
                                                           Date: __L.:....,    ~ /2::_0_ "2._I _ _ _ __
                                                                        I   I




                                                           Date: _ _ _ _ _ _ _ _ _ _ __
LANNY D. WELCH
Supervisor
            D1g1tally ~1gn ed by
CARRIE      CARRIE CAPWELL

                                                           Date: _ _ _ _ _ _ _ _ _ _ __
CARRIE CAPWELL
Criminal Chief


                                                           Date:. _ _~_·_7_._'\1
                                                                               _l_ _ _ _ __

Defendant


                                                           Date:. __"-'_ · ]
                                                                           _.__.--'1,._ \._____ _ __
STEVE MANK
Counsel for Defendant




                                               9
